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 1   DANIEL BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, D.C. Bar #446153
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DONNA LAVETTA WILSON
 6
 7                                  IN THE UNITED STATES DISTRICT COURT
 8                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                        )   CASE NO. CR-S-06-450 LKK
10                                                    )
                             Plaintiff,               )
11                                                    )   STIPULATION AND ORDER TO CONTINUE
             v.                                       )   STATUS HEARING
12                                                    )
     DIALLO SIMS                                      )
13                                                    )
     DONNA LAVETTA WILSON,                            )
14                                                    )
                       Defendants.
15   _______________________________
16          This case is currently scheduled for a status hearing on May 15, 2007. The attorneys for all parties
17   have conferred and agree that additional time is needed for defense review of discovery and further
18   investigation of the case.
19          All parties, through their respective counsel, hereby stipulate and agree that the status conference
20   scheduled in this case for May 15, 2007, be continued until June 5, 2007. In addition, the parties stipulate
21   that the time period from May 15, 2007, to June 5, 2007, be excluded under the Speedy Trial Act (18
22   U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need to provide defense counsel with the
23   reasonable time to prepare.
24          A proposed order is attached and lodged separately for the court's convenience.
25
     DATED:May 14, 2007
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28                                                         1
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 1                        Respectfully submitted,
 2   McGREGOR W. SCOTT                              DANIEL BRODERICK
     United States Attorney                         Federal Defender
 3
 4
     /s/Lexi Negin for Dale Kitching                /s/ Lexi Negin
 5   DALE KITCHING                                  LEXI NEGIN
     Special Assistant U.S. Attorney                Assistant Federal Defender
 6   Attorney for United States                     Attorney for Donna Wilson
 7
 8
     /s/ Lexi Negin for Hayes Gable
 9   HAYES GABLE
     Attorney for Diallo Sims
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 1
 2                                IN THE UNITED STATES DISTRICT COURT
 3                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 4
     UNITED STATES OF AMERICA,                       )   CASE NO. CR-S-06-450 LKK
 5                                                   )
                           Plaintiff,                )
 6                                                   )   ORDER CONTINUING STATUS
            v.                                       )   CONFERENCE AND EXCLUDING TIME
 7                                                   )
     DIALLO SIMS                                     )
 8                                                   )
     DONNA LAVETTA WILSON,                           )
 9                                                   )
                       Defendants.
10   _______________________________
11
            For the reasons set forth in the stipulation of the parties, filed on May 14, 2007, IT IS HEREBY
12
     ORDERED that the status conference currently scheduled for May 15, 2007, be continued until Tuesday,
13
     June 5, 2007, at 9:30 a.m. The Court finds that the ends of justice to be served by granting a continuance
14
     outweigh the best interests of the public and the defendant in a speedy trial. Accordingly, IT IS HEREBY
15
     ORDERED that, for the reasons stated in the parties’ May 14, 2007 stipulation, the time under the Speedy
16
     Trial Act is excluded from May 15, 2007, through June 5, 2007, pursuant to 18 U.S.C. §3161(h)(8)(B)(iv)
17
     and Local Code T4, due to the need to provide defense counsel with the reasonable time to prepare.
18
19
     Dated: May 11, 2007
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